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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 GREGORY MACLEAN, RICK VALLES,
 ARDESHIR PEZESHKI, JAMES GIBBS, and
 RONALD HEMENWAY, individually and in
                                                     Civil Action 3:20-cv-3414 (FLW) (LHG)
 their representative capacities,
                                                     Motion Day: August 3, 2020
                      Plaintiffs,
                                                     Oral Argument Requested
               v.
                                                     Document Electronically Filed
 WIPRO LIMITED,

                      Defendant.



    DEFENDANT’S REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
        ITS MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT OR,
     IN THE ALTERNATIVE, TO STAY AND TO STRIKE CLASS ALLEGATIONS




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                                   PRELIMINARY STATEMENT

         Plaintiffs’ opposition is most notable for what they do not dispute: that their lawsuit is a

 carbon copy of a putative class action that has been pending in the Southern District of Texas for

 over two years, that all four factors courts consider in determining whether the first-filed rule

 applies are satisfied, that the bulk of Plaintiffs’ claims were filed outside the applicable statute of

 limitations, and that Plaintiffs fail to allege facts suggesting that a discriminatory motive was the

 “but for” cause or “motivating factor” of the adverse employment actions that Plaintiffs claim to

 have experienced, as required under Section 1981 and Title VII, respectively. This litany of fatal

 deficiencies dooms Plaintiffs’ claims.

         Plaintiffs’ strained attempts to salvage their claims fall flat. Plaintiffs ask this Court to

 exercise its discretion to decline to apply the first-filed rule, but give this Court no legitimate reason

 not to apply the rule—to be sure, Plaintiffs’ attempt to argue bad faith on Wipro’s part is

 unavailing, particularly given Plaintiffs’ gamesmanship and forum shopping. See Defendant’s

 Motion to Dismiss (“Mot.”) at 12–13. Plaintiffs also cannot rely on equitable tolling or American

 Pipe tolling to save their untimely claims: MacLean fails to show extraordinary circumstances

 that warrant equitable tolling of his Title VII claims, and Plaintiffs cannot overcome the clear case

 law in this District holding that American Pipe tolling does not benefit plaintiffs who file an

 independent action before a decision on class certification. Even if the Court could look past the

 first-filed rule and the statute of limitations, Plaintiffs’ claims still warrant dismissal for failure to

 exhaust and failure to state a claim. Plaintiffs rely on out-of-circuit case law to ask this Court to

 lower the standard for exhausting and pleading their deficient disparate impact claims. Plaintiffs

 also fail to address the complete lack of factual allegations linking the alleged adverse employment

 actions to any purportedly discriminatory treatment, and their attempt to recast their disparate

 treatment claims as pattern-or-practice claims does not pass muster as a matter of law.


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         For these reasons, the Amended Complaint should be dismissed with prejudice. In the

 alternative, the Court should stay this action pending final resolution of the first-filed Phillips

 action and strike class allegations seeking prospective and injunctive relief.

                                             ARGUMENT

 I.      The Court Should Dismiss Plaintiffs’ Claims, or Stay This Case, Under the First-
         Filed Rule

         Plaintiffs do not, and cannot, dispute that this action involves the same subject matter,

 issues, claims, and parties as the first-filed Phillips action. Mot. at 10–12. Plaintiffs instead side-

 step and urge this Court to exercise its discretion to decline to apply the first-filed rule. Opposition

 Brief (“Opp.”) at 5–8. However, “[a] Court should only depart from the first-filed rule in cases of

 unusual or exceptional circumstances,” such as “instances of bath faith, forum shopping, or when

 the first filing party instituted suit in one forum in anticipation of the opposing party’s imminent

 suit in another, less favorable forum.” Pai v. Reynolds Foil, Inc., 2010 WL 1816256, at *3 (D.N.J.

 May 5, 2010). Plaintiffs have failed to meet their “burden of demonstrating an exception to the

 [first-filed] rule that warrants the Court’s departure from it.” Id. at *4.

         First, Plaintiffs’ argument that the first-filed rule should not apply due to Wipro’s supposed

 “bad faith” or “gamesmanship” fails at the outset. Opp. at 5–6. Plaintiffs contend that the first-

 filed rule should not apply because Wipro has opposed class certification in Phillips and argued

 that the Phillips plaintiffs are inadequate class representatives. Id. But Plaintiffs do not cite any

 cases in which courts have declined to apply the first-filed rule on these grounds 1—to the contrary,



  1
      Plaintiffs rely on cases in which the first-filed rule did not apply because the first case was
      filed to preempt an unfavorable ruling in another jurisdiction. See EEOC v. Univ. of Pa., 850
      F.2d 969, 977 (3d Cir. 1988); PhotoMedex, Inc. v. St. Paul Fire & Marine Ins. Co., 2009 WL
      2326750, at *6 (E.D. Pa. July 28, 2009) (both cited at Opp. 5). These cases are inapposite here
      because Phillips was filed more than two years before this action and was not filed to preempt
      an unfavorable ruling in this Court.


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 courts have rejected this very argument. See, e.g., O.P. Schuman & Sons, Inc. v. DJM Advisory

 Grp., LLC, 2017 WL 634069, *3 (E.D. Pa. Feb. 16, 2017) (applying first-filed rule and rejecting

 argument that the rule should not apply because “Defendants have opposed class certification in

 the [first-filed] action”). The “bad faith exception” instead applies where the party seeking to

 invoke the first-filed rule filed the first action in order to preempt an unfavorable ruling in another

 court. Pai, 2010 WL 1816256, at *5. This exception is plainly inapplicable here, as Wipro did

 not choose to be sued in Phillips, and in any event, Phillips was not filed to preempt an unfavorable

 ruling in this Court. See Worthington v. Bayer Healthcare, LLC, 2012 WL 1079716, at *7–8

 (D.N.J. Mar. 30, 2012) (dismissing class action under first-filed rule and rejecting argument that

 defendant “is attempting to . . . plaintiff shop”). Plaintiffs’ attempt to expand the bad faith

 exception should be rejected: under Plaintiffs’ reasoning, the first-filed rule would not apply

 whenever a defendant opposes class certification or challenges the adequacy of the class

 representatives in the first-filed action, and the exception would thus swallow the rule.

         Second, Wipro has not taken “contradictory positions” in this action and in Phillips. Opp.

 at 7. Indeed, Wipro has not taken any position in this litigation on whether the Phillips class should

 be certified or whether the Phillips plaintiffs are adequate class representatives.2 Further, this

 Court need not “speculate as to how the [Phillips] litigation may proceed” in order to apply the

 first-filed rule. O.P. Schuman, 2017 WL 634069, at *3. The first-filed rule is designed to “avoid

 burdening the federal judiciary” and to avoid “conflicting judgments.” Worthington, 2012 WL



  2
      Swetra v. Directv, LLC, 2016 WL 4208440 (D.N.J. Aug. 9, 2016) (cited at Opp. 7) is
      distinguishable. The Swetra court declined to apply the first-filed rule, in part because the
      defendant took “contrary” positions by arguing against class certification in the first-filed
      action, but arguing in the second-filed action that the plaintiff’s individual claim was subsumed
      in the class action. Id. at *3–5. However, the Swetra court’s reasoning relied on the fact that
      the second-filed action was an individual claim, and the court distinguished cases involving
      “overlapping proposed class actions” where the first-filed rule applied. Id. at *3.


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 1079716, at *3. It is undisputed that the plaintiffs in this action and in Phillips filed identical

 claims under Title VII and Section 1981 on behalf of the exact same putative nationwide class of

 employees. Mot. at 10–12. Accordingly, “[r]ather than having two district courts decide class

 certification” for identical proposed classes, a “single court”—the first-filed court—should decide

 the issue to promote “comity and consistency.” O.P. Schuman, 2017 WL 634069, at *3.

        Third, Plaintiffs’ argument that “the equities favor not applying the ‘first-filed’ rule,” Opp.

 at 7, rests on a misreading of China Agritech, Inc. v. Resh, 138 S.Ct. 1800 (2018). In China

 Agritech, the Supreme Court held that American Pipe tolling does not extend to “successive class

 actions,” but did not address the first-filed rule. 138 S.Ct. at 1811. And contrary to Plaintiffs’

 claim that the Supreme Court endorsed a “multiplicity” of class action filings, Opp. at 7, the Court,

 in fact, emphasized that “district courts have ample tools at their disposal to manage” multiple

 class action filings, “including the ability to stay, consolidate, or transfer proceedings.” China

 Agritech, 138 S.Ct. at 1811. The first-filed rule is exactly this type of case-management tool.

        Fourth, judicial economy and the likelihood of inconsistent judgments also strongly favor

 dismissal of this action. In arguing that dismissal is not warranted, Plaintiffs rely solely on broad

 dicta from Chavez v. Dole Food Co., 836 F.3d 205 (3d Cir. 2016) (cited at Opp. 8). But unlike the

 Chavez plaintiffs, who faced complex jurisdictional hurdles in their first filed action, id. at 221–

 22, the Phillips court has already accepted jurisdiction of the first-filed class action and Plaintiffs

 would be included in any class that the Phillips plaintiffs seek to certify. Mot. at 11–12. Plaintiffs

 are thus not in danger of “not be[ing] heard by another court,” and their insistence on pursuing a

 wholly duplicative action in this Court is the kind of “vexatious” litigation for which Chavez

 specifically reserved dismissal with prejudice. Chavez, 836 F.3d at 220, 221; Mot. at 12–13.

 II.    Plaintiffs’ Claims Are Largely Time-Barred

        Plaintiffs do not dispute, and thereby concede, that Valles’, Pezeshki’s, Gibbs’ and


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 MacLean’s Title VII claims, and Valles’ and Gibbs’ Section 1981 claims are untimely under Title

 VII’s 300-day statute of limitations and Section 1981’s four-year statute of limitations. Mot. at

 15–17. Plaintiffs thus acknowledge that these claims survive only if tolling applies, and contend

 that MacLean’s Title VII claim was equitably tolled and that their Title VII and Section 1981

 claims were tolled under American Pipe. Neither argument has merit.

         Equitable Tolling. MacLean’s Title VII claims were not equitably tolled during the

 pendency of the motion to amend to add MacLean as a plaintiff in Phillips. Opp. at 9. Equitable

 tolling is an “extraordinary remedy which should be used sparingly,” Dixon v. Elizabeth Bd. of

 Educ., 2010 WL 1742214, at *4 (D.N.J. Apr. 27, 2010), and MacLean fails to meet his burden of

 proving that this doctrine applies, see Courtney v. La Salle Univ., 124 F.3d 499, 505 (3d Cir. 1997).

 MacLean does not assert that Wipro “misled” him with respect to his claim, or that “extraordinary

 circumstance[s]” prevented him from timely asserting his claim. Dixon, 2010 WL 1742214, at

 *4.3 And the one basis for equitable tolling that MacLean does mention—filing “mistakenly in

 the wrong forum”—is inapposite. Opp. at 9. This case “is not one where it is apparent that

 [MacLean] actively sought to file a Federal EEOC charge, but erroneously and timely filed such a

 charge in the wrong forum.” Castellane-Jaconetta v. Fornoro, 2020 WL 1329905, at *6 (D.N.J.

 Mar. 23, 2020) (concluding that equitable tolling is not applicable). MacLean instead sought to

 intervene in Phillips, rather than filing a timely EEOC charge, which reflects his mere “fail[ure]

 to exercise sufficient due diligence to ascertain . . . the steps necessary to preserve” his Title VII

 claim and does not provide a basis for equitable tolling. Id.




  3
      Plaintiffs’ reliance on Jones v. Eagle Industrial Hygiene Associates, 2004 WL 1576652 (E.D.
      Pa. July 14, 2004) (cited at Opp. 9 n.3) is misplaced. The Jones court applied equitable tolling
      on the grounds that the EEOC conceded that it neglected to mail the plaintiffs’ paperwork—
      an “extraordinary” circumstance beyond the plaintiff’s control. Id. at *1–2.


                                                   5
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         American Pipe Tolling. The filing of the class action complaint in Phillips on December 1,

 2017 did not toll the statute of limitations for Plaintiffs’ claims under American Pipe &

 Construction Co. v. Utah, 414 U.S. 538 (1974). American Pipe “addressed only putative class

 members who wish to sue individually after a class-certification denial,” China Agritech, 138 S.Ct.

 at 1806, and the Phillips court has not issued a decision on class certification. The case law in this

 District is clear that where, as here, plaintiffs elect to file an independent action before a decision

 on class certification, those plaintiffs surrender the benefits of American Pipe tolling. Mot. at 18

 (collecting cases).4 Plaintiffs’ attempt to distinguish these cases on the grounds that they have “not

 opted-out of the [Phillips action]” misses the mark. Opp. at 10. Courts in this District have held

 that “a plaintiff who chooses to file an independent action without waiting for a determination on

 the class certification issue may not rely on” American Pipe tolling, and have not limited this rule

 to cases where plaintiffs have opted out of a class action. Thomas v. Corr. Med. Servs., Inc., 2009

 WL 737105, at *4 (D.N.J. Mar. 17, 2009); Weitzner v. Sanofi Pasteur Inc., 909 F.3d 604, 610 (3d

 Cir. 2018) (“American Pipe is designed to protect individual claims filed after the denial of class




  4
      The out-of-jurisdiction cases that Plaintiffs cite are inapposite. In re Hanford Nuclear
      Reservation Litig., 534 F.3d 986, 1008–09 (9th Cir. 2008); State Farm Mut. Auto. Ins. Co. v.
      Boellstorff, 540 F.3d 1223, 1230–32 (10th Cir. 2008); and In re WorldCom Sec. Litig., 496
      F.3d 245, 254 (2d Cir. 2007) (all cited at Opp. at 10 n.4) each rely on American Pipe’s assertion
      that “the commencement of a class action suspends the applicable statute of limitations as to
      all asserted members of the class who would have been parties had the suit been permitted to
      continue as a class action.” 414 U.S. at 554. But American Pipe discussed tolling only with
      respect to class members who filed lawsuits after the denial of class certification, 414 U.S. at
      552–53, and the above-mentioned cases were all decided before China Agritech clarified the
      purpose of American Pipe tolling and refused to expand the doctrine beyond its application to
      putative class members pursuing individual actions “after a class-certification denial.” China
      Agritech, 138 S.Ct. at 1806, 1811. The Middle and Eastern District of Pennsylvania cases that
      Plaintiffs cite, Opp. at 10, follow the flawed reasoning in Hanford, State Farm, and Worldcom,
      and pre-date, or fail to account for, the Supreme Court’s decision in China Agritech.



                                                   6
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 certification.”). American Pipe tolling thus does not apply to Plaintiffs’ individual claims. 5

           American Pipe tolling also does not apply to Valles’ Pezeshki’s, Gibbs’, and MacLean’s

 Title VII class claims and Valles’ and Gibbs’ Section 1981 class claims. In China Agritech, the

 Supreme Court held that American Pipe tolling does not apply to “a follow-on class action past

 [the] expiration of the statute of limitations.” 138 S.Ct. at 1804; see Weitzner, 909 F.3d at 609–

 10. Although Plaintiffs attempt to limit China Agritech’s holding to cases “whe[re] a denial of

 class certification is followed by a new class action,” Opp. at 11, courts in the Third Circuit have

 held that American Pipe tolling does not extend to “subsequent class action suits filed prior to the

 resolution of class certification.” Blake v. JP Morgan Chase Bank, N.A., 2018 WL 1518613, at *8

 (E.D. Pa. Mar. 28, 2018), aff’d, 927 F.3d 701, 710 (3d Cir. 2019) (a timely class action “never”

 tolls its purported class members’ class claims). Because Plaintiffs filed this putative class action

 prior to the resolution of class certification in Phillips, Plaintiffs’ class claims are not subject to

 American Pipe tolling and remain untimely.6 See id. Further, it is not “premature” to determine

 the timeliness of Plaintiffs’ class claims, Opp. at 10–11—indeed, the Supreme Court in China

 Agritech and the Third Circuit in Blake held that class claims were untimely at the motion to

 dismiss stage. See China Agritech, 138 S.Ct. at 1805–06; Blake, 927 F.3d at 705, 709–10.

 III.      Plaintiffs’ Claims Suffer From A Host of Independent Legal Defects and Warrant
           Dismissal

           In addition to the foregoing defects, Plaintiffs’ disparate impact and disparate treatment



  5
        Plaintiffs do not dispute that the Phillips complaint was filed more than 300 days after the last
        allegedly discriminatory act concerning Valles or Gibbs. Mot. at 18 n.8. Therefore, even if
        American Pipe tolling applies, Valles’ and Gibbs’ Title VII claims remain time-barred.
  6
        Plaintiffs’ reliance on Schultz v. Midland Credit Mgmt., Inc., 2019 WL 2083302 (D.N.J. May
        13, 2019) (cited at Opp. 11) is misplaced. The court in Schultz held that a “class member
        seeking to join [an] ongoing putative class action as a class representative following the
        expiration of the statute of limitations” was entitled to American Pipe tolling, but did not
        address whether American Pipe tolling applies to a successive class action. Id. at *9.


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 claims should be dismissed for several, independent reasons.

         Disparate Impact.      Plaintiffs contend that Wipro has improperly raised the bar for

 exhausting and pleading their claims by requiring them to allege the existence of a specific, facially

 neutral practice that caused a disparate impact. Opp. at 13–14. Plaintiffs rely on out-of-circuit

 cases, and ignore the clear case law in this Circuit which requires a plaintiff alleging a disparate

 impact claim under Title VII to identify a “specific employment practice” that is “neutral on its

 face” and “caus[es] a substantial adverse impact on a protected group.” Hashem v. Hunterdon

 Cty., 2016 WL 5539590, at *14 (D.N.J. Sept. 29, 2016) (Wolfson, J.); see McNeil v. Greyhound

 Lines, Inc., 982 F. Supp. 2d 447, 451 (E.D. Pa. 2013) (dismissing Title VII disparate impact claim

 because plaintiff “fails to identify a facially gender-neutral employment practice”). 7

         Plaintiffs’ allegations relating to disparate impact—both in their EEOC charges and here—

 do not meet this bar. Plaintiffs fail to explain why their challenges to Wipro’s “hiring and staffing

 decision-making process, as a whole,” “appraisal and promotion practice,” and “employee-

 allocation practices,” Am. Compl. ¶ 24; see Exs. B–F ¶ 16, constitute “specific” employment

 practices, as opposed to generalized policies. 8 Instead, Plaintiffs assert that they are “not required”

 to allege the employment practices underlying their disparate impact claims with more specificity

 because “the relevant information is within Wipro’s sole possession and control.” Opp. at 14. But

 Plaintiffs’ cases are inapposite, and Plaintiffs do not cite any cases holding that a disparate impact



  7
      The requirement to identify a “specific employment practice[]” is not limited to claims under
      the Age Discrimination in Employment Act (“ADEA”). See Opp. at 12. Although “disparate
      impact liability . . . [is] narrower in ADEA cases than under Title VII,” Meachem v. Knolls
      Atomic Power Lab., 554 U.S. 84, 98 (2008), courts in this Circuit require plaintiffs alleging a
      Title VII disparate impact claim to identify a “specific employment practice,” see, e.g., Ackie
      v. Philadelphia Gas Works, 2020 WL 509167, at *2 (E.D. Pa. Jan. 31, 2020); Sztroin v.
      PennWest Indus. Truck, LLC, 2017 WL 4355575, at *7–8 (W.D. Pa. Oct. 2, 2017).
  8
      All exhibits refer to those attached to the Declaration of Grace E. Hart. See Dkt. 11-2.



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 claim is exhausted or adequately alleged where the plaintiff fails to identify a specific employment

 practice.9 To the contrary, courts routinely hold that generalized policies, like the challenged

 practices here, are insufficient to exhaust or plead a disparate impact claim. See, e.g., Knox v. PPG

 Indus., Inc., 2016 WL 279004, at *6–7 (W.D. Pa. Jan. 22, 2016).

         Plaintiffs’ attempt to recast their theory of Wipro’s purported practices of applying for

 visas and affording preferential treatment toward visa holders as a theory of disparate impact is

 equally insufficient. Opp. at 15. Indeed, Plaintiffs allege that “[t]o fulfill its employment

 preferences for South Asians and Indians, Wipro seeks to maximize the number of visas it receives

 each year,” “[a]ll or substantially all, of the individuals for whom Wipro secures visas are South

 Asian Indian,” and “visa-ready individuals are given preference” for “open positions in the U.S.”

 Am. Compl. ¶¶ 19–20 (emphasis added); see Exs. B–F ¶¶ 11–12. Plaintiffs’ claim is thus premised

 on Wipro’s alleged implementation of its visa policies “in a deliberately discriminatory fashion,”

 and “is one of intentional discrimination—not the result of adverse effects from a facially neutral

 policy.” Rauceo v. Philadelphia Gas Works, 2020 WL 550613, at *3 (E.D. Pa. Feb. 3, 2020).

 Further, even if disparate treatment and disparate impact may be pled in the alternative and may

 sometimes overlap, a plaintiff must still satisfy the plausibility requirements for both theories. See,

 e.g., Ingram v. Vanguard Grp., Inc., 2015 WL 4394274, at *21 (E.D. Pa. July 17, 2015); Bratek v.

 TD Bank, N.A., 2012 WL 603299, at *6 (D.N.J. Feb. 22, 2012).

         Plaintiffs have also failed to satisfy their burden of alleging causation. Plaintiffs contend

 that the alleged statistical disparity in Wipro’s workforce is sufficient to state a disparate impact



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      Plaintiffs rely on Innova Hospital San Antonio, Ltd. P’ship v. Blue Cross & Blue Shield of Ga.,
      Inc., 892 F.3d 719 (5th Cir. 2018) (cited at Opp. 14), which involved claims of improper
      reimbursements of health plan benefits under the Employee Retirement Income Security Act,
      and Rosenau v. Unifund, 539 F.3d 218 (3d Cir. 2008) (cited at Opp. 14 n.6), which involved
      claims under the Fair Debt Collection Practices Act.


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 claim. Opp. at 17. But a plaintiff alleging disparate impact is required to allege a “causal

 connection” between the challenged practice and the alleged disparate impact. McNeil, 982 F.

 Supp. 2d at 450. Courts routinely dismiss disparate impact claims where, as here, the plaintiff fails

 to plead facts showing how the alleged facially neutral practice “itself caused the [alleged]

 disparity,” White v. Smiths Detection, 2013 WL 1845072, at *18 (D.N.J. Apr. 30, 2013); see Knox,

 2016 WL 279004, at *7; McNeil, 982 F. Supp. 2d at 451. Plaintiffs have failed to make this

 showing as they have not alleged that Wipro’s alleged facially neutral practices (as opposed to the

 alleged facially discriminatory practices) caused the purported disparity in Wipro’s workforce.

        Disparate Treatment. Plaintiffs fail to address the paucity of alleged facts linking the

 adverse employment action they allegedly experienced to any supposedly discriminatory

 treatment. Mot. at 25–29. The Court cannot infer discriminatory treatment simply because

 Plaintiffs are not South Asian or Indian and they experienced an adverse employment action—

 there must be some facts alleged to exclude the possibility that Plaintiffs were simply ineffective

 at their jobs. Id. Without those facts, Plaintiffs’ disparate treatment claims should be dismissed.

        Plaintiffs instead attempt to recast their deficient disparate treatment claims as pattern-or-

 practice claims. However, it is not enough for Plaintiffs to simply “invok[e] the magic words

 ‘pattern’ or ‘practice’” in their pleading. Blake v. Bronx Lebanon Hosp. Ctr., 2003 WL 21910867,

 at *5 (S.D.N.Y. Aug. 11, 2003). Plaintiffs must instead allege facts to support the conclusion that

 “discrimination was [Wipro’s] standard operating procedure”—a burden that is higher than the

 burden to state an individual disparate treatment claim. Petruska v. Reckitt Benckiser, LLC, 2015

 WL 1421908, at *7–8 (D.N.J. Mar. 26, 2015); Cooper v. Fed. Reserve Bank of Richmond, 467

 U.S. 867, 877–78 (1984) (explaining that it is “clear” that a pattern-or-practice claim “may fail

 even though discrimination against one or two individuals has been proved”).




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          Plaintiffs cannot meet this burden. Plaintiffs failed to meet the lower bar to state an

 individual disparate impact claim as they did not allege facts to support an inference that race or

 national origin was a “motivating factor,” or the “but for” reason, they were allegedly terminated

 or not hired, re-hired, or promoted. See Mot. at 25–29. Further, even if Plaintiffs adequately

 alleged facts suggesting a discriminatory motive of the adverse employment actions they claim to

 have experienced, this would be, at best, “isolated” or “sporadic” instances of discrimination,

 which is insufficient to state a pattern-or-practice claim. See, e.g., Petruska, 2015 WL 1421908,

 at *7–8; Tucker v. Gonzales, 2005 WL 2385844, at *5 & n.3 (S.D.N.Y. Sept. 27, 2005).

 IV.      Plaintiffs Lack Standing to Pursue Claims for Prospective Relief for Themselves or
          on Behalf of A Putative Class

          To circumvent the basic legal principle that former employees cannot seek prospective

 relief, see Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 364 (2011), Plaintiffs assert that seeking

 reinstatement is “enough to establish standing to seek injunctive relief.” Opp. at 21. 10 But

 reinstatement is a remedial measure, not a form of prospective relief. And to the extent it could

 be considered prospective, as Dukes itself makes clear, conclusory allegations are not sufficient to

 establish standing. 564 U.S. at 366 (rejecting request for prospective relief from plaintiffs who

 also sought reinstatement). Further, the possibility of Plaintiffs working at Wipro again—and the

 risks Plaintiffs claim to fear—is too speculative to establish standing. See Clapper v. Amnesty Int’l

 USA, 568 U.S. 398, 409 (2013) (“allegations of possible future injury” insufficient to seek

 prospective relief). It is also not “premature” to assess Plaintiffs’ standing to seek prospective

 relief on behalf of the proposed class, Opp. at 22, as courts routinely decide this issue at the motion



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       Plaintiffs rely on Chen-Oster v. Goldman Sachs & Co., 251 F. Supp. 3d 579 (S.D.N.Y. 2017),
       which merely suggested that Dukes did not adopt a blanket rule denying standing to former
       employees seeking reinstatement. Id. at 588–90. But Chen-Oster did not establish a
       categorical rule that seeking reinstatement confers standing.


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 to dismiss stage, see, e.g., Ponzio v. Mercedes-Benz USA, LLC, 2020 WL 1183733, at *14 (D.N.J.

 Mar. 11, 2020); Miller v. Glen Mills Schs., 2019 WL 6877176, at *5 (D.N.J. Dec. 17, 2019).

                                            CONCLUSION

          For the reasons set forth above and in Wipro’s opening brief, the Court should dismiss the

 Amended Complaint with prejudice, or in the alternative, stay this action pending final resolution

 of the Phillips action and strike class allegations seeking prospective and injunctive relief. 11

 Dated: July 27, 2020                           Respectfully submitted,


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       Plaintiffs should not be afforded any further opportunity to amend their pleading. Plaintiffs
       merely tack on a request for leave to amend at the conclusion of their opposition brief, but do
       not offer any basis for this request. Plaintiffs’ request should thus be denied. Ramsgate Court
       Townhome Ass’n v. West Chester Borough, 313 F.3d 157, 161 (3d Cir. 2002).


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